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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA




 IN RE: JEFFREY B. CLARK,
                                                              Case No. __________
 A member of the Bar of the District of                       (Related to Case No. 1:22‐mc‐
 Columbia Court of Appeals (Bar No.                           00096‐RC)
 455315)
                                                              Judge _________
 D.C. Board of Professional Responsibility
    Docket Nos. 22‐BG‐059 & 22‐BD‐039
 Disciplinary Docket No. 2021‐D193                            On removal from the D.C. Court of
                                                              Appeals



          R E S P O N D E N T J E F F R E Y B. C L A R K ’ S SECOND N O T I C E O F R E M O V A L
                          T O THE U N I T E D S T A T E S D I S T R I C T C O U R T
                                 F O R T H E D I S T R I C T O F COLUMBIA


      PLEASE TAKE NOTICE:

      Pursuant to 28 U.S.C. §§ 1331, 1441, 1442, 1446, and 1455, Jeffrey B. Clark

(“Respondent”) hereby gives notice and removes this quasi‐prosecution case from the

District of Columbia Court of Appeals (“DCCA”) to the United States District Court for

the District of Columbia. It follows in the wake of Respondent having removed, on

October 17, 2022, the main case from the DCCA’s adjunct bodies, the District of Columbia

Board of Professional Responsibility (“Board”) and the Board’s assigned Hearing

Committee.

      This Second Notice of Removal should not have been necessary. It results only

from the D.C. Office of Disciplinary Counsel (“ODC”) having filed, in the local court from
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which the action was removed to this Court, an improper post‐removal motion to enforce

an October 6, 2022 subpoena against Respondent. ODC did this even though the October

17, 2022 First Notice of Removal had the effect of removing the entire criminal‐civil

hybrid case to this Court and ending supervisory jurisdiction (for instance to enforce

subpoenas) on the part of the DCCA, unless and until this case is remanded (including

after any ensuing appeals) to the DCCA or its adjunct bodies.

      Respondent’s counsel signs this Notice of Removal pursuant to Rule 11 of the

Federal Rules of Civil Procedure and Respondent pleads the following in accordance

with the parallel requirements of 28 U.S.C. § 1446(a) and § 1455(a) for a “short and plain

statement of the grounds for removal”:

Introduction

1. This is a paradigmatic case for removal under the federal officer removal statute, 28

    U.S.C. § 1442—the statute that forms the principal, but not exclusive, basis for removal

    herein. Respondent is a former high‐ranking federal officer at the United States

    Justice Department. Specifically, Respondent was a Senate‐confirmed Assistant

    Attorney General for the Environment & Natural Resources Division from

    November 1, 2018 to January 14, 2021, as well as the former Acting Assistant

    Attorney General of the United States for the Civil Division from September 5, 2020

    to January 14, 2021.

2. On October 17, 2022, Respondent previously removed to this Court the disciplinary




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       charges brought against him by the D.C. Disciplinary Counsel, who heads up ODC.

       That is case number 1:22‐mc‐00096‐RC pending in this Court.

    3. The prior Removal also specifically encompassed a subpoena for the production of

       documents dated October 6, 2022 served upon Respondent (the “Second

       Subpoena”). See Case No. 1:22‐mc‐00096‐RC, Dkt. #1, ¶¶ 15‐18, 21, 26, 57‐59.

    4. Respondent now brings this second Notice of Removal because, notwithstanding the

       prior Removal on October 17, 2022, ODC filed a motion to enforce the Second

       Subpoena in the District of Columbia Court of Appeals (“DCCA”) (not this Court)

       on October 26, 2022—nine days after the first removal. ODC filed the motion to

       enforce despite the prior removal of the Charges and of the Second Subpoena, and

       despite the rule of 28 U.S.C. § 1446(d) that once notice of removal is filed as to a civil

       action (defined by 28 U.S.C § 1442(d)(1) to include a subpoena) with the clerk of the

       “State court” and notice is given to adverse parties, “the State court shall proceed no

       further unless and until the case is remanded.” There has been no remand as of the

                              1
       date of this filing.

    5. Note as well that 28 U.S.C. § 1442(d)(1) defines “civil action” and “criminal




1
 As the Court is aware from the First Removal, Respondent takes the position that under
DCCA precedent, District bar disciplinary proceedings constitute criminal‐civil hybrid
matters and thus the civil case removal rule in 28 U.S.C. § 1446(d) is the proper rule to
apply (read in light of the need to harmonize the civil with criminal removal statutes) to
bar further action in the court removed from “unless and until the case is remanded.”



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    prosecution” not only to include “a subpoena for testimony or documents” but

    directs that such actions “include any proceeding (whether or not ancillary to

    another proceeding).” (Emphasis added.) This means the fact that the Charges

    initiating the case were removed in the First Removal is no barrier to a subsequent

    removal, even though this Second Removal of the Second Subpoena is ancillary to

    the First Removal of the entire action (which had already included removal of the

    Second Subpoena). The text of Section 1442(d)(1), in other words, anticipates

    situations like this one in which a subsequent removal can relate to, i.e., be “ancillary

    to another proceeding.”

6. The Second Subpoena and the Motion to Enforce (Exhibit A‐3) connect directly to the

    Charges that were previously removed. The Second Subpoena seeks documents that

    ODC wants to review so that it can assess its own view of the propriety of advice

    Respondent is alleged to have prepared and delivered, while a federal officer,

    though that advice was never presented to any court or other body that could be

    characterized as a tribunal. Instead, the alleged advice was given exclusively within

    the confines of the Justice Department and/or inside the sanctum of the Oval Office

    of the White House, where it was put to the President of the United States himself.

7. No State possesses the power to supervise the internal operations and deliberations

    of any branch of the federal government. The Supremacy Clause and federal officer

    removal statutes, 28 U.S.C. §§ 1442 and 1446(g), ensure the preservation of the




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federal structure by vesting Article III courts with the jurisdiction and responsibility

to adjudicate the federal statutory claims, constitutional claims, and other defenses

of individuals entrusted with federal authority. In this case, it is the District of

Columbia government, a creature of Congress created pursuant to Congress’s

plenary powers under the Seat of Government Clause, U.S. Const. art. I, § 17, that

claims the power to supervise the internal operations and deliberations of the

Executive Branch. This case is, therefore, a direct attack on the fundamental principle

of separation of powers (instead of federalism, which would apply if a state bar were

trying to regulate Respondent’s conduct inside the federal Executive Branch). ODC

is thus a federal office that traces its power and existence to the Legislative Branch.

As an Article I court, the DCCA has no, or at best only limited authority (28 U.S.C. §

530B), to supervise the conduct of attorneys who control the litigation of the federal

government and, like Congress itself, the DCCA has no authority whatsoever to

discipline a federal counselor to the President based on Disciplinary Counsel’s

own—or Congress’s—disagreement with the substance or development of advice

and recommendations concerning Department of Justice law enforcement policy. In

this case, the Charges filed by ODC at the behest of a single Senator and the Second

Subpoena seek both privileged documents and testimony that explore the legal,

policy, factual, and political basis for advice that Respondent is alleged to have given

to the Acting Attorney General of the United States, to the Principal Associate




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     Deputy Attorney General (the “PADAG”), who at the time was performing the

     duties of the Deputy Attorney General, and, most importantly, to the President of

     the United States.

8.   Accordingly, ODC, whether viewed separately or as an investigative and

     prosecutorial agency of the DCCA, has no jurisdiction to intrude upon, politicize,

     or second‐guess advice given to the President that, under any reading of the D.C.

     Rules of Professional Conduct, were consistent with Respondent’s duties. Nor does

     it have the authority to use its subpoena power to advance the political agenda of a

     U.S. Senator who could not muster the votes from his colleagues on the U.S. Senate

     Judiciary Committee to wield the Committee’s own subpoena power.

9. Any request to remand this case should thus be denied. Instead, this case should be

     consolidated with the First Removal, Case No. 1:22‐mc‐00096‐RC, and adjudicated

     in a more orderly fashion than has occurred up to this point in the DCCA and its

     adjuncts. Specifically, the first test should be whether the Board even has

     jurisdiction to allow ODC to serve and compel compliance with the Second

     Subpoena. Removal is especially necessary because the DCCA has turned this

     ordinary practice on its head and determined to hold a factual hearing calling

     witnesses against Respondent, even before the disputed issue of jurisdiction is

     addressed at the Hearing Committee level of the Board’s disciplinary process. Nor

     has the full Board or the DCCA, an Article I court, addressed jurisdiction. As a result,




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   this case presents serious separation of powers issues because it is functionally an

   attempt by Article I bodies to interfere in internal deliberations within the confines

   of the Article II Executive Branch.

10. Worse yet, the Board has refused to adhere to binding Supreme Court law or even to

   its own precedent as to the unavoidable need for jurisdictional challenges to be

   addressed at the outset of any case. It is similarly unclear whether the DCCA, were

   it to entertain the Motion to Enforce the Second Subpoena, would conform itself to

   Supreme Court law. With respect to the Charges, the Board is, in essence, relying on

   an assumption of “hypothetical jurisdiction” to hold a factual hearing prior to

   establishing the existence of jurisdiction. Contrast, e.g., Ruhrgas AG v. Marathon Oil Co.,

   526 U.S. 574 (1999) (threshold jurisdictional questions must be resolved before the

   merits); Steel Co. v. Citizens for Better Env’t, 523 U.S. 83, 94‐95 (1998) (requirement to

   establish subject matter jurisdiction as a threshold matter is “inflexible and without

   exception” and, for that reason, the Supreme Court rejected the doctrine of

   “hypothetical jurisdiction”); see also UMC Dev. LLC v. District of Columbia, 120 A.2d.

   37, 42 (D.C. 2015) (standing is a matter posing “a threshold jurisdictional question

   which must be addressed prior to and independently of the merits of a party’s

   claim.”). And the purpose of the Second Subpoena that ODC is trying to have the

   DCCA enforce is to assist adjudication of the Charges that the Board wrongly

   determined could go forward without a threshold jurisdictional inquiry first being




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        resolved in ODC’s favor.

Background and Procedural Requirements

    11. Jeffrey B. Clark is Respondent in the matter currently styled “In the Matter of Jeffrey B.

        Clark, Respondent,” pending in the DCCA as Case No. 22‐BG‐059, which relates to

        Disciplinary Docket No. 2021‐D193 and Board of Professional Responsibility

                                                                                               2
        (“Board”) Docket No. 22‐BD‐039 (collectively, the “Deemed‐State Court Action”).

    12. Out of an abundance of caution, Respondent fully incorporates by reference all of the

        First Removal into this Second Removal. Respondent does this so that this Second

        Removal is shorter in length than the First Removal.

    13. In connection with the First Removal, Respondent had suggested that these matters

        would best be captioned “Hamilton P. Fox, III, Disciplinary Counsel, Petitioner v.




2
  The District of Columbia is not a “State.” However, it can sometimes be deemed the
equivalent of a “State” for certain purposes, i.e., when Congress explicitly so provides.
And Congress has so provided here as to the exercise of removal jurisdiction. See 28
U.S.C. § 1442(d)(5) (defining the District as a State for removal purposes); see also 28 U.S.C.
§ 1451(2) (same). We flag this point because it will become important, by contrast, that
Congress’s authorization for the substantive application of state ethics rules to members
of state bars actually does not define the District as a “State.” See 28 U.S.C. § 530B. This
means that D.C. court actions concerning attempted discipline of Justice Department
attorneys are removable to this Court but—as we will show in a forthcoming motion to
dismiss to be filed at the appropriate juncture after any disputes over removal jurisdiction
are first resolved—local D.C. courts possess no delegated federal authority to discipline
Justice Department attorneys. And that lack of authority is especially apparent as to
attempts to exercise District disciplinary power over lawyers who have not even
appeared in front of such a local court in the ordinary course of litigation, as is true of
Respondent here.




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    Jeffrey B. Clark, Respondent.” The Clerk’s Office has apparently rejected that

    suggestion including by giving this case a “‐mc‐“ (miscellaneous) case number.

    Respondent is unsure of the implications of that administrative decision concerning

    case numbering, but reserves all of his rights, should at some point any claim be

    made that the numbering decision carries adverse substantive significance for

    Respondent.

14. The prior removal was timely with respect to the Second Subpoena because it was

    filed 11 days after the Second Subpoena was served. This Second Notice of Removal

    is timely with respect to the Motion to Enforce the Second Subpoena (Exhibit A‐3)

    because it is filed on the thirtieth day from the filing of that motion on October 26,

    2022. It is also timely on multiple other grounds, as described in the next several

    paragraphs. Recognize at the outset that the federal officer removal statute itself, 28

    U.S.C. § 1442, does not specify a time limit for removal. As a result, the timing of

    when federal officer cases are removable depends on whether the prosecution or case

    against the federal officer is a civil case, a criminal case, or a hybrid of the two.

15. First, this action (being in‐part criminal) is timely removed pursuant to 28 U.S.C. §

    1455(b)(1) (emphasis added), which provides as follows:

      A notice of removal of a criminal prosecution shall be filed not later than 30
      days after the arraignment in the State court, or at any time before trial,
      whichever is earlier, except that for good cause shown the United States
      district court may enter an order granting the defendant or defendants
      leave to file the notice at a later time.




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    16. There is no analogue to an “arraignment” in the District’s disciplinary process, so the

                                                                                3
        30‐day period referenced in Section 1455(b)(1) is wholly irrelevant here. This removal

        is thus timely under Section 1455(b)(1) because no trial has yet occurred and thus this

        is indisputably a pretrial removal.

    17. Additionally, even if this removal were somehow untimely under Section 1455(b)(1)

        (which it is not), Respondent hereby pleads that good cause can be shown to allow

        this removal at this time. This local law attempt to discipline internal Executive

        Branch legal advice, including that presented to the President of the United States,

        is historically unprecedented (as ODC has conceded). How Section 1455(b)(1) and

                                                                                              4
        Section 1442 fit together is also not a subject that has generated very much case law.

        As other facts and procedural history pleaded herein demonstrate, Respondent,



3
  Neither Section 1455 nor Section 1451 (containing generally applicable definitions to
Title 89 of Title 28 of the United States Code, where the removal statutes are housed)
defines the term “arraignment.” BLACK’S LAW DICTIONARY defines “arraignment” as “The
initial step in a criminal prosecution whereby the defendant is brought before the court
to hear the charges and to enter a plea.” Mr. Clark was not brought before the Hearing
Committee or before any other DCCA body to enter a plea or hear the charges, ergo no
arraignment exists.

4
 Undersigned counsel found only three cases in Westlaw where Section 1455(b)(1) could
be found within 30 words of Section 1441! (Boolean search). And none of them were a
valid Section 1442 removal, since many non‐federal officer defendants wrongly think (or
attempt) to use Section 1442 as a basis to get out of state court. Counsel is thus unaware
of any authority that explains how Section 1442 civil removals (triggering Section 1446’s
applicability) should interface with Section 1455(b)(1). This is likely because hybrid
criminal‐civil removals are rare.




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        through his counsel, removed this case only after the local bodies subordinate to the

        DCCA refused to even address whether they possessed subject matter jurisdiction

                                                                                        5
        over this case before insisting upon a factfinding trial (called a “hearing”). It is still

        very early in this case and there is thus “good cause” to deem this removal as timely

        within the meaning of Section 1455(b)(1).

    18. As to the removal of subpoenas from state court (or deemed equivalents), 28 U.S.C.

        § 1446(g) addresses the issue of timeliness and provides that Section 1455(b)(1) “is

        satisfied if the person or entity desiring to remove the proceeding files the notice of

        removal not later than 30 days after receiving, through service, notice of any such

        proceeding.” And, as noted above, the prior Notice of Removal was filed within 30

        days of email service of the October 6, 2022 Second Subpoena, thereby providing yet

        another basis for timeliness.

    19. In the alternative, even if this case were exclusively considered a civil case, removal

        would still be timely because this Notice of Removal has been filed within 30 days

        after the filing of the October 26, 2022 Motion to Enforce in the DCCA.




5
  On information and belief, it rare for ODC to bring disciplinary actions first, in lieu of
waiting for the completion of other substantive proceedings, especially ones currently
underway. Yet here, ODC, the Hearing Committee, and the Board have rushed to set a
hearing to commence on January 9, 2023, refusing to wait for resolution of any of the
following: (1) proceedings in and a report from the House January 6 Select Committee,
(2) a potential federal criminal investigation involving DOJ’s Office of Inspector General,
or (3) proceedings before a Fulton County, Georgia Special Grand Jury.



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20. Pursuant to 28 U.S.C. § 1446(a), Respondent’s counsel hereby attaches as Exhibit A

    hereto a copy of all process, pleadings, and orders served on him in connection with

    the Second Subpoena, namely the Second Subpoena itself, the motion to enforce

    same, all subsequent filings from that point forward in the DCCA, and (for context),

    the Charges. All other case events related to the Charges were previously filed with

    the First Notice of Removal in Case No. 1:22‐mc‐00096‐RC and need not be filed

    again here. If filing of the other case events related to the Charges is required,

    Respondent will do so. Exhibit A‐1 contains a list of all exhibits filed with this Second

    Removal. And Exhibit A‐2 is the DCCA’s docket sheet containing the filings on

    October 26, 2022 and thereafter.

Brief Summary of Factual Allegations

21. The Second Subpoena purports to be issued in connection with Charges filed against

    Respondent by Disciplinary Counsel Fox. Mr. Fox is seeking to investigate and

    penalize Respondent’s discretionary actions as the Assistant Attorney General over

    two DOJ Divisions in the rough time frame of December 2020 to January 3, 2021, and

    to uncover the research and facts on which Mr. Clark relied on while in office to

    make legal policy recommendations to the Acting Attorney General of the United

    States, to the PADAG, then performing the duties of the Deputy Attorney General,

    and, most importantly,        to the President of        the United States.       Those

    recommendations are pleaded in the Charges to be housed in a document called the




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   “Proof of Concept Letter” that is claimed to have been circulated by Respondent to

   the Acting Attorney General and the PADAG. Its contents eventually became

   available to the White House Counsel and the President of the United States, and

   were later anonymously leaked to the New York Times in late January 2021 by persons

   unknown to the Respondent. A copy of the Charges is attached as Exhibit A‐6.

22. The Second Subpoena seeks production of United States Department of Justice

   records, including emails, documents, witness statements, notes concerning internal

   Justice Department investigations, and other information relating to Respondent’s

   performance of his official duties as a double Assistant Attorney General. This

   Second Subpoena, again dated October 6, 2022, is attached as Exhibit A‐7. The

   intrusion of the Second Subpoena into the purely federal sphere is plain and obvious

   on its face.

23. Respondent’s objections to the Second Subpoena include, without limitation, a

   panoply arising from and based on federal constitutional law and the powers and

   privileges of the presidency and Executive Branch, such as separation of powers, the

   Supremacy Clause, executive privilege, law enforcement privilege, etc.

24. Moreover, the Second Subpoena triggers the Touhy process, which requires detailed

   review by the Department of Justice to protect federal interests.

Brief Procedural History Summary

25. Disciplinary Counsel Fox began the investigation leading to the Charges and the




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        recent Second Subpoena attached as Exhibit “A‐7” at the behest of United States

        Senator Richard Durbin, Chair of the Senate Judiciary Committee. Senator Durbin

        alleged that the District of Columbia Bar should investigate whether Respondent’s

        alleged policy recommendations and efforts to argue their merits with his superiors

        and persuade the President of the United States violated various provisions of the

        D.C. Rules of Professional Conduct.

    26. Mr. Fox commenced an investigation under D.C. Bar Rule XI, seeking on November

        22, 2021 to discover via subpoena directed at Mr. Clark the contents of Respondent’s

        DOJ deliberative files and correspondence. Mr. Fox did not seek such material from

        DOJ directly. Why Mr. Fox presumes that Mr. Clark has immediate access to his DOJ

        files, even though he is a former and not a current DOJ official is not clear.

    27. Respondent objected to the subpoena by letter dated January 31, 2022 (a date reached

        by mutual agreement between Respondent and ODC), asserting his Fifth

                                                               6
        Amendment right not to be compelled to testify. He also maintained that the

        subpoena “seeks privileged information, seeks information that exceeds




6
 We maintain that Respondent is innocent of the Charges and that it is axiomatic that the
Fifth Amendment is not a right that can be claimed only by those who concede guilt. Mr.
Clark has been a distinguished member of the D.C. Bar for 25 years and starting in 2001
has been entrusted with multiple offices of federal trust and honor. His reputation for
probity in federal office or as an officer of the courts (whether during public or private
law practice) was never seriously questioned until the intensely contentious political
disputes surrounding the 2020 presidential election arose.



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   constitutional limitations or is otherwise improper” under D.C. Bar Board of

   Professional Responsibility Rule 2.9(a), and preserved his right to litigate “novel,

   complex and difficult Executive Privilege, Separation of Powers, Fifth and Sixth

   Amendment, and Professional Responsibility issues” necessarily involved when an

   Assistant   Attorney    General     of   the   United    States   makes    legal   policy

   recommendations to the Acting Attorney General, the PADAG, and the President of

   the United States.

28. On February 3, 2022, Disciplinary Counsel Fox filed, under seal in the DCCA, a

   Motion to Compel the production of the records and information requested in the

   November 2021 subpoena.

29. Respondent replied, also under seal, with a Response to Motion to Compel and

   Cross‐Motion to Quash, asserting, among other things, that the District of Columbia

   Bar did not have jurisdiction to investigate either the content of, or basis for, internal

   deliberations among officers of the United States and their communications with the

   President of the United States, and that all such information was covered by a variety

   of privileges and limitations arising under the Constitution and laws of the United

   States, including executive privilege, separation of powers, the First, Fifth, and Sixth

   Amendment, and 28 U.S.C. § 530B.

30. Briefing on the Motion to Compel in the DCCA was complete as of March 14, 2022.

   Months elapsed without any action by the DCCA.




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31. While Disciplinary Counsel’s Motion to Compel and Respondent’s Response to

   Motion to Compel and Cross‐Motion to Quash were pending before the DCCA, Mr.

   Fox (apparently impatient with the pace of adjudication on an appellate motion he

   himself had elected to file) filed the public Charges against Respondent, asserting

   violations of Rules 8.4 (a) and (c) of D.C. Rules of Professional Conduct because

   Respondent “attempted to engage in conduct involving dishonesty, by sending the

   Proof of Concept letter containing false statements,” and a violation of “Rules 8.4(a)

   and (d), in that Respondent “attempted to engage in conduct that would seriously

   interfere with the administration of justice.”

32. On September 15, 2022, the DCCA filed an order unsealing all of the investigatory

   stage filings in that court, holding that, “because disciplinary proceedings have been

   initiated the pending [investigative‐stage] subpoena” was no longer operative. It

   dismissed the Motion to Compel as moot; denied Respondent’s Motion to Quash the

   subpoena; ordered, pursuant to D.C. Bar Rule XI § 18(c) “that all motions to quash a

   subpoena must be heard and decided by a Hearing Committee designated by the

   Executive Attorney;” and held that the power to issue subpoenas under D.C. Bar

   Rule XI § 18(a) rests with either Disciplinary Counsel or a member of a Hearing

   Committee.

33. The reasoning of the DCCA in dismissing the first motion to enforce applies with

   equal force to the Second Subpoena and the Second Motion to Enforce—it is an




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    investigative subpoena on its face and therefore invalid.

34. Short of filing an extraordinary writ with the DCCA to establish that jurisdiction does

    not exist to allow ODC to file and pursue the Charges against Mr. Clark (including

    via subpoena), Respondent had no choice but to remove this case to this Court so

    that he could obtain threshold review of the jurisdictional issue, which is not only

    mandated by binding Supreme Court precedent but constitutes the only orderly way

    for litigation to proceed. To hold a factfinding hearing before jurisdiction is

    established is to put the cart before the horse. It also risks creating a media spectacle,

    exposing internal Executive Branch deliberations that should have remained

    confidential at all times under prevailing lawyer ethics rules common to all bars, and

    the resulting prejudice to Respondent of a public hearing on a matter of intense

    political debate. ODC should not be permitted to make the process the punishment.

35. Respondent puts the DCCA, ODC, the Board, and its Hearing Committees on notice,

    however, that if, for some reason this case is ultimately remanded, even after

    appellate review, Respondent reserves his right to challenge the malconstructed

    sequencing the DCCA has put in place for its discipline cases (wherein factual

    hearings inefficiently go before the resolution of jurisdictional disputes) via the filing

    of an extraordinary writ or the like in the DCCA shortly after remand.

Removal Jurisdiction Exists Over This Case Pursuant to the Federal
Officer Removal Statute, 28 U.S.C. § 1442.

36. The first basis for removing the Second Subpoena arises because the Second



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    Subpoena seeks discovery relating to information gathered and reviewed and

    actions undertaken by Respondent while he was a federal officer in the course of

    performing his duties as a federal officer. As a result, this matter falls squarely within

    the removal jurisdiction of 28 U.S.C. § 1442, regardless of the nature of the relevant

    cause of action brought against Respondent or how any such action is styled by its

    plaintiff or proponent. See id. § 1442(a)(1) (allowing removal of actions filed against

    a federal officer “in an official or individual capacity”) (emphasis added).

37. Section 1442(a)(1) provides as follows:

      (a) A civil action or criminal prosecution that is commenced in a State court
      and that is against or directed to any of the following may be removed by
      them to the district court of the United States for the district and division
      embracing the place wherein it is pending:

             (1) The United States or any agency thereof or any officer (or any
             person acting under that officer) of the United States or of any
             agency thereof, in an official or individual capacity, for or relating to
             any act under color of such office or on account of any right, title or
             authority claimed under any Act of Congress for the apprehension
             or punishment of criminals or the collection of the revenue.

38. This case can clearly be seen as either a “civil action or criminal prosecution.” See,

    e.g., In re Artis, 883 A.2d at 101 (referring to “a disciplinary case, which is ‘quasi‐

    criminal’ in nature”). Indeed, the main holding of In re Artis is that the anti‐

    compelled testimony clause of the Fifth Amendment to the U.S. Constitution applies

    to disciplinary proceedings like this one.

39. Moreover, in reality, ODC’s Charges trigger a criminal‐civil hybrid. See BLACK’S LAW




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    DICTIONARY (defining “quasi” to carry a number of meanings: “[s]eemingly but not

    actually; in some sense or degree; resembling; nearly.”) (emphasis added). Since it is

    obvious that In re Artis, by providing some protections afforded in the criminal

    context, is not saying that disciplinary proceedings are “not actually” criminal to any

    degree, the most applicable meanings of “quasi” in Artis are clearly “in some sense

    or degree; resembling; nearly.”

40. In other words, District disciplinary proceedings are to some degree criminal,

    meaning that their remaining degree is civil and thus opening up to Respondent the

    use of both civil and criminal removal statutes.

41. For purposes of Section 1442, this case was “commenced in a State Court.” The

    DCCA is clearly a court of the District of Columbia. And Section 1442(d)(5) defines

    the “District of Columbia” and certain other federal entities as “States.” 28 U.S.C. §

    1442(d)(5).

42. The Second Subpoena and therefore this case are “against or directed to”

    Respondent, 28 U.S.C. § 1442(a), and relate to his conduct as “an[] officer . . . of the

    United States or of any agency thereof.” Id. at § 1442(a)(1). As noted above, Mr. Clark

    was a double Assistant Attorney General at the United States Department of Justice,

    beginning (as to one of his offices) on November 1, 2018 and ending January 14, 2021

    (as to both of his offices).

43. Section 1442 federal officer removal exists when the underlying conduct occurs while




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   a defendant is in federal employ. See, e.g., Williams v. Lockheed Martin Corp., 990 F.3d

   852 (5th Cir. 2021) (exercising civil removal jurisdiction over a former employee

   plaintiff exposed to asbestos while working for the predecessor corporation to

   Lockheed Martin, where that employee helped to build federal government rockets

   for NASA); Kentucky v. Long, 837 F.2d 727 (6th Cir. 1988) (exercising removal

   jurisdiction as to a criminal action filed in 1986 against a former FBI agent, relating

   to actions undertaken when he was in federal employ from 1979 to 1981). All that

   matters is that the Second Subpoena seeks documents from Mr. Clark pertaining to

   Mr. Clark’s work during his federal employment, a fact which is undisputed.

44. During this span of time focused on by the Second Subpoena, Mr. Clark’s conduct

   has been brought into question “[a] for or relating to any act under color of such

   office or [b] on account of any right, title or authority claimed under any Act of

   Congress for the apprehension or punishment of criminals or the collection of the

   revenue.” 28 U.S.C. § 1442(a)(1). The subject matter of the documents requested by

   the Second Subpoena all relate to official‐duty “acts” that occurred under color of

   Mr. Clark’s federal office. They also relate to potential actions pursuant to DOJ

   “authority claimed under any Act of Congress for the apprehension or punishment

   of criminals.” 28 U.S.C. § 1442(a)(1). For any ensuing election investigations could

   have led to federal criminal charges.

45. Respondent has asserted a series of federal‐law based objections to the Second




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    Subpoena, including defenses based on the doctrines of separation of powers,

    federalism, the lack of jurisdiction in the DCCA, immunity, the Opinion Clause, the

    Take Care Clause, and numerous other legal provisions and doctrines. See generally

    Exhibit A‐4 (Response and Objections to Second Subpoena, and Documents

    Incorporated by Reference).

46. “We must construe the statute liberally in favor of removal, Watson v. Philip Morris

    Cos., 551 U.S. 142, 147 (2007), and ‘we credit the [officer’s] theory of the case for

    purposes of both elements of’ the removal inquiry, [Jefferson Cty, Ala. v.] Acker, 527

    U.S. [423,] 432 [(1999)].” K&D LLC v. Trump Old Post Off. LLC, 951 F.3d 503, 506 (D.C.

    Cir. 2020) (the two elements being (1) raising a colorable federal defense that (2)

    relates to any act under color of the removing federal official’s office).

47. 28 U.S.C. § 1442(d)(1) (emphasis added) provides as follows:

      The terms “civil action” and “criminal prosecution” include any proceeding
      (whether or not ancillary to another proceeding) to the extent that in such
      proceeding a judicial order, including a subpoena for testimony or
      documents, is sought or issued. If removal is sought for a proceeding
      described in the previous sentence, and there is no other basis for removal,
      only that proceeding may be removed to the district court.

48. Ancillary removals are clearly permissible and this Second Removal (based on ODC

    having sought to enforce the Second Subpoena) is ancillary to the First Removal. As

    emphasized above, the fact that this is a Second Removal is a type of removal

    contemplated by Congress because Congress made it irrelevant whether this Second

    Removal stands alone or whether it is ancillary to the First Removal.



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49. Additionally, the second sentence of Section 1442(d)(1) does not apply because there

    is “[an]other basis for removal.” Namely, the next basis for removal covered below

    concerning 28 U.S.C. §§ 1331 (and the doctrine of complete preemption) & 1441.

    Indeed, under the combined effect of both sentences of Section 1442(d)(1), had

    Respondent not already removed the entire action in the First Removal, Respondent

    could now still remove (and does remove) the entire action at this time because of

    ODC’s new filing on October 26, 2022. Respondent hereby includes this Second

    Removal based on ODC’s motion to enforce filed on October 26, 2022 as providing

    additional grounds for the removal of the entire action to this Court.

Original Jurisdiction Exists Pursuant to the Federal Question Statute (28 U.S.C. § 1331)
Under the Doctrine of Complete Preemption and Thus Civil Removal Jurisdiction
Also Exists Pursuant to 28 U.S.C. § 1441.

50. Disciplinary jurisdiction by the DCCA and its adjuncts over Respondent’s conduct is

    not self‐executing (especially where Respondent did not appear, as relevant to the

    Charges, to litigate before any local court of the District). Instead, a federal statute is

    required to even potentially authorize such local disciplinary jurisdiction.

51. The federal statute in question, 28 U.S.C. § 530B(a) (emphasis added), provides as

    follows: “An attorney for the Government shall be subject to State laws and rules, and

    local Federal court rules, governing attorneys in each State where such attorney

    engages in that attorney’s duties, to the same extent and in the same manner as other

    attorneys in that State.”




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52. The problem for ODC is that the District of Columbia is not a “State.” Hence, Section

    530B(a) confers no authority on the DCCA and its adjuncts to try to discipline the

    conduct of Respondent. Federal statutes sometimes deem the District to be treated

    as if it were a State, but there is no such special directive in Section 530B, or indeed

    anywhere in Chapter 31 of Title 28 of the United States Code (which collects statutes

    involving the Attorney General and DOJ). By contrast, and also under the canon of

    expressio unius est exclusio alterius (the expression of one alternative implies the

    exclusion of all others), the text of the first and primary removal statute invoked to

    support this Second Notice of Removal (and the First Notice of Removal) itself

    explicitly confers “deemed State” status on the District. See 28 U.S.C. §§ 1442(d)(5)‐

    (6) & 1451(2). See, e.g., TVA v. Hill, 437 U.S. 153 (1978) (a grouping of hardship

    exceptions to the applicability of the Endangered Species Act was exclusive). But

    when one turns away from removal issues to the substantive issue of disciplinary

    authority, there is no “deemed State” status conferred on the District. Instead, under

    Section 530B(a), the disciplinary delegation occurs only to “States” full stop,

    whereas the grouping to which federal officer removal jurisdiction applies is a

    different grouping of “States” and deemed States, i.e., States together with (1) the

    “District of Columbia,” (2) “United States territories and insular possessions, and

    [(3)] Indian country.” 28 U.S.C. § 1442(d)(5).

53. Congress thus knows how to deem the District a “State” when it wants to do so. It




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    clearly wanted to do so for purposes of removal but, equally clearly, it did not want

    to do so as to the topic of attorney discipline. For Sections 1442(d)(5) and 530B(a)

    cannot be read to apply to interchangeable groupings of jurisdictions granted some

    limited sphere of disciplinary power over Justice Department attorneys. The

    language of the two statutes is too disparate to even attempt to do so.

54. For these reasons, the DCCA is entirely fenced out of the federal grant of authority to

    regulate Justice Department lawyers engaged in internal deliberations. Therefore,

    that area of regulation is, in short, completely preempted.

55. “In complete preemption a federal court finds that Congress desired to control the

    adjudication of the federal cause of action to such an extent that it did not just provide

    a defense to the application of state law; rather, it replaced state law with federal law

    and made it clear that the defendant has the ability to seek adjudication of the federal

    claim in a federal forum.” Wright, Miller & Cooper, 14B FEDERAL PRACTICE &

    PROCEDURE § 3722.1 at 512 (3d ed. 1998). Here, the rationale for complete preemption

    is even stronger because regulating Justice Department lawyers is inherently a federal

    role—and not, in the absence of a clear delegation (as is certainly true here), a state

    role. Simply put, Section 530B(a) never textually delegates to the District any power

    to discipline Justice Department Attorneys, especially when they are not interfacing

    with the local courts of the District. State/local law here was not displaced; it was

    never made applicable to District disciplinary regulation in the first place.




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56. ODC may well point to Section 530B(b), which grants rulemaking power concerning

    Section 530B to the Attorney General. A federal rule resulting from that delegation

    does exist and it does purport to expand Section 530B’s reach to the District. See 28

    C.F.R. § 77.2(i). But Respondent’s position is that this rule is ultra vires in violation of

    Step One of Chevron because it attempts to vary the plain text of Section 530B(a), which

    agencies lack the power to do. See Chevron, U.S.A., Inc. v. NRDC, Inc., 467 U.S. 837, 843

    n.9 (1984). DOJ cannot by rulemaking give itself the power to make the statute apply

    District ethics laws to DOJ lawyers.

57. Additionally, Section 77.2 has an important caveat, which independently places this

    case beyond the jurisdiction of ODC, the DCCA, and the DCCA’s other adjuncts: “Nor

    does the phrase include any jurisdiction that would not ordinarily apply its rules of

    ethical conduct to particular conduct or activity by the attorney.” 28 C.F.R. § 77.2(j)(2).

    This provision carries out Section 530B(a)’s caveat that ethics regulation, even where

    it is delegated to the States (not the District) apply only “to the same extent and in

    the same manner as other attorneys in that State.”

58. And Mr. Fox recently conceded, in an email exchange undersigned counsel initiated

    to try to ascertain the proposed sanction he is seeking against Respondent, that this

    case is not one in the ordinary course, being conducted “to the same extent and in the

    same manner” as other disciplinary matters ODC handles. This is because Mr. Fox

    recognizes that there has never been a case like this before (a key point Respondent’s




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    counsel has argued repeatedly to ODC, the Hearing Committee, the Board, and the

    DCCA). See First Removal (Case No. 1:22‐mc‐00096‐RC), Exhibit D, Email from Phil

    Fox to Charles Burnham, et al. (Oct. 6, 2022) (emphasis added) (“I don’t think there

    is any comparable conduct, which means this is something that I will need to dwell

    on.”). If there is no comparable conduct, then the attempt to discipline such conduct

    is not a matter “ordinarily” brought up for District lawyer discipline and so it falls

    outside even an ultra vires regulation that tries to make the square peg of Section

    530B’s authorization to “State” disciplinary proceedings apply to the round hole of

    “District” disciplinary proceedings. Similarly, and even more importantly, the lack

    of comparable cases means that this disciplinary matter cannot be one where ODC is

    proceeding “to the same extent and in the same manner as [it pursues discipline

    concerning] other attorneys in that State” (even assuming, incorrectly but arguendo,

    that the District can function as a “State” under the statute). 28 U.S.C. § 530B(a)

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    (emphasis added).




7
  The fact that ODC admits that its case against Mr. Clark is unprecedented distinguishes
it from cases where, for example, Assistant United States Attorneys (“AUSAs”) have
faced discipline. See, e.g. In re Andrew J. Kline, 11 A.3d 202 (D.C. 2015) (discipline case
involving discovery violations by an AUSA). Without conceding that ODC can reach
such AUSA conduct under Section 530B (a question not presented here), we recognize that
ODC does “ordinarily apply” its rules to attorneys who appear before D.C. courts.
However, as the ODC has admitted, it does not “ordinarily apply” its rules of ethics to
non‐court, purely internal advice provided by high‐ranking DOJ lawyers to their
superiors up to and including the President of the United States. Thus, whether on the



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59. 28 U.S.C. § 1441(a) provides as follows:

      Except as otherwise expressly provided by Act of Congress, any civil action
      brought in a State court of which the district courts of the United States have
      original jurisdiction, may be removed by the defendant or the defendants,
      to the district court of the United States for the district and division
      embracing the place where such action is pending.

60. As explained above, District disciplinary proceedings are criminal‐civil hybrids. As

    such, Section 1441(a) applies here, for this proceeding is, at least in part, a “civil

    action.”

61. Section 1451(2) deems the District to be a “State” “for purposes of this chapter” (i.e.,

    Chapter 89 of Title 28 of the United States Code). And Section 1441(a) is part of

    Chapter 89. As such, this in‐part “civil action” is pending in “a State Court,” within

    the meaning of Section 1441(a) as supplemented by Section 1451(2).

62. The District Court has original federal question jurisdiction over this in‐part “civil

    action” because the attempted District lawyer discipline at issue here is completely

    preempted as it falls outside the authorization of Section 530B(a) (and Section

    77.2(j)(2)).

63. The term “defendant” is not defined in Section 1441(a) but Respondent is clearly

    placed by District law in a defensive posture as to the Charges being advanced by

    ODC, even though District procedural law refers to him by a different term.




basis of a pure‐ text reading of Section 530B(a) or, even assuming the validity of Section
77.2(i), the Charges brought here are beyond ODC’s powers.



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The DCCA, Board, and Any Hearing Committee May Not Proceed Further
on This Matter Now That Removal Has Occurred.

64. As noted above, this matter is a criminal‐civil hybrid. As such, it must be governed

    by harmonizing the procedural removal statute for criminal actions (Section 1455)

    with the procedural removal statute for civil actions (Section 1446).

65. Section 1455(b)(3) provides that “The filing of a notice of removal of a criminal

    prosecution shall not prevent the State court in which such prosecution is pending

    from proceeding further, except that a judgment of conviction shall not be entered

    unless the prosecution is first remanded.” 28 U.S.C. § 1455(b)(3). See also 28 U.S.C. §

    1455(b)(5) (in situations where “the United States district court does not order the

    summary remand of such prosecution,” and once the “district court determines that

    removal shall be permitted, it shall so notify the State court in which prosecution is

    pending, which shall proceed no further.”) (emphasis added).

66. Additionally, Section 1446(d) provides that once notice of removal is filed as to a civil

    action with the clerk of the “State court” and notice is given to adverse parties “the

    State court shall proceed no further unless and until the case is remanded.” 28 U.S.C.

    § 1446(d).

67. The only way to harmonize those two statutes, both of which apply to this removal,

    is for the State Court—here the Deemed‐State Court (i.e., the DCCA and its adjuncts)

    to be precluded from proceeding further with the matter “unless and until the case

    is remanded.” See, e.g., United States v. Fausto, 484 U.S. 439, 453 (1988) (“we must



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    engage in the classic judicial task of reconciling many laws enacted over time, and

    getting them to make sense in combination”) (cleaned up).

68. ODC has already violated the automatic stay of Section 1446(d) by filing its motion

    to enforce the Second Subpoena (Exhibit A‐3). Respondent will further notify the

    Court if the DCCA or any of its adjuncts attempt to proceed contrary to Section

    1446(d). Any such action would run flatly contrary to the intent of the federal‐officer

    removal statute, which is to shift the locus for adjudicating cases that might impinge

    upon federal officers’ powers to an Article III court forum.

69. Indeed, ODC appears to recognize that it is proceeding contrary to 28 U.S.C. §

    1446(d), for it has asked the DCCA to hold its Second Subpoena in abeyance. See

    Exhibit A‐5 at 2.

Post‐Removal Procedural Matters in This Court

70. Proceedings on enforcement of the October 6, 2022 Second Subpoena should be

    recognized as suspended until the Court has first resolved threshold motions

    practice, especially on the topic of removal jurisdiction and then on the topic of ODC’s

    subject matter jurisdiction.

Venue and Removal Under 28 U.S.C. § 1441(a)

71. Venue is proper in this Court pursuant to 28 U.S.C. § 1446(a), as the United States

    District Court for the District of Columbia is the District in which the State Court

    Action was pending.




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72. This matter is removable under 28 U.S.C. § 1441 as in‐part a civil action over which

    the United States District Court for the District of Columbia has original subject matter

    jurisdiction under 28 U.S.C. § 1331 and the doctrine of complete preemption.

73. This matter is thus also removable under 28 U.S.C. § 1442 and § 1455 because the

    Charges are in‐part a criminal prosecution that is pending within another jurisdiction

    (the DCCA), which also falls within the span of the United States District Court for

    the District of Columbia.

Effectuation of Removal

74. Respondent hereby removes this quasi‐prosecution case subpoena enforcement

    action to the United States District Court for the District of Columbia.

75. By filing this Notice of Removal, Respondent expressly consents to the removal.

76. Pursuant to 28 U.S.C. § 1446(a), copies of all pleadings, as well as copies of all process

    and other papers, from the October 26, 2022 motion to enforce forward, filed in the

    DCCA, are attached hereto as Exhibit A. All prior pleadings, process and other

    papers were attached to the Notice of Removal in Case No. 1:22‐mc‐00096‐RC in this

    Court. The Charges are also included, for context, in the exhibits herein to this

    Second Removal, meaning those Charges appear both as an exhibit to the First

    Removal and as Part of Exhibit A herein.

77. The allegations herein were true at the time the Deemed‐State Court Action was

    commenced and remain true as of the date of filing of this Notice of Removal.




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78. Undersigned counsel certifies that a notice of filing this removal, along with a copy of

    this Second Notice of Removal, will be promptly filed with the DCCA, as well as

    with the Board, which will give notice to its Hearing Committee. Respondent will

    also serve this filing on opposing counsel.

79. WHEREFORE, Respondent hereby removes this action to the United States District

    Court for the District of Columbia.

      This 25th day of November, 2022.

                                          Respectfully submitted,

                                          /s/ Charles Burnham
                                          Charles Burnham
                                          D.C. Bar 1003464
                                          Attorney for Respondent

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                           CERTIFICATE OF SERVICE
    I certify that a copy of the foregoing Second Notice of Removal (and its

accompanying exhibits) was hereby filed on November 25, 2022, and that copies of the

Second Notice of Removal were served on the District of Columbia Board of

Professional Responsibility, which will give notice to the Chair of Hearing Committee

Twelve, and on Disciplinary Counsel Hamilton P. Fox on October 25, 2022 as well. I sign

consistent with Federal Rule of Civil Procedure 11.

     This 25th day of November, 2022.

                                        /s/ Charles Burnham
                                        Charles Burnham
                                        D.C. Bar 1003464
                                        Attorney for Respondent
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